Case 1:16-cr-10179-IT Document 139 Filed 05/12/17 wage 1 of 8
in Open Court
USDC, Mass.
Dete Sia fiy
Deputy Clerk
U.S. Department of Justice

William D. Weinreb
Acting United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
! Courthouse Way
Suite 9200
Boston, Massachusetts 02210

May 16, 2017

Miriam Conrad, Esq.
Scott Lauer, Esq.

Office of the Federal Public Defender es
51 Sleeper Street, Fifth Floor ORI

Boston, MA 02210

Re: United States v. Alex Hernandez
Criminal No. 16-10179-IT

Dear Ms. Conrad and Mr. Lauer:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Alex Hernandez (“Defendant”), agree as follows with respect to the above-referenced case:

1. Change of Plea

At the earliest practicable date, Defendant shall plead guilty to above-referenced
Indictment charging him with making threats against the President, in violation of 18 U.S.C.
§ 871(a). Defendant expressly and unequivocally admits that he committed the crime charged in
the Indictment, did so knowingly and willfully, and is in fact guilty of that offense.

2. Penalties

Defendant faces the following maximum penalties: incarceration for 5 years; supervised
release for 3 years; a fine of $250,000; and a mandatory special assessment of $100.

3. Sentencing Guidelines

The sentence to be imposed upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines (‘USSG” or
“Guidelines”). While the Court may impose a sentence up to and including the statutory maximum
term of imprisonment and statutory maximum fine, it must consult and take into account the USSG
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and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a sentence.

The U.S. Attorney will take the position that Defendant’s total offense level under the
USSG (prior to any adjustment for acceptance of responsibility) is 24, calculated as follows:

e inaccordance with USSG § 2A6.1(a)(1), Defendant’s base offense level is 12;

e inaccordance with USSG § 2A6.1(b)(1), Defendant’s offense level is increased
by 6, because the offense involved conduct evidencing an intent to carry out the
threat; and

e in accordance with USSG § 3A1.2(b), Defendant’s offense level is increased
by 6, because the victim was a government officer or employee, the offense of
conviction was motivated by such status, and the applicable Chapter Two
guideline is from Chapter Two, Part A.

Defendant agrees with respect to the application of the USSG that:

e in accordance with USSG § 2A6.1(a)(1), Defendant's base offense level is 12:
and

e in accordance with USSG § 3A1.2(b), Defendant’s offense level is increased
by 6, because the victim was a government officer or employee, the offense of
conviction was motivated by such status, and the applicable Chapter Two
guideline is from Chapter Two, Part A.

The parties otherwise have no agreement as to the application of the USSG and reserve all
rights with respect to how the USSG apply to Defendant.

The U.S. Attorney and Defendant agree that there is no basis for a departure from the
USSG. Accordingly, neither the U.S. Attorney nor Defendant will seek a departure from the
USSG. The Defendant reserves the right to argue for a sentence outside the USSG under the
factors set forth in 18 U.S.C. § 3553(a).

If Defendant contends that there is a basis for a sentence outside the otherwise applicable
Guidelines sentencing range based on Defendant’s medical, mental, and/or emotional condition,
or otherwise intends to rely on any such condition at sentencing, Defendant will, forthwith upon
request, execute all releases and other documentation necessary to permit the U.S. Attorney and
his experts (including Bureau of Prisons medical personnel) to obtain access to Defendant's
medical, psychiatric, and psychotherapeutic records and will also provide to the U.S. Attorney
forthwith copies of any such records already in Defendant’s possession. In addition, Defendant
will authorize Defendant’s care providers to discuss Defendant’s condition with the U.S. Attorney
and his agents (including Bureau of Prisons medical personnel), as well as experts retained by the
U.S. Attorney. Defendant also agrees to submit to examinations and interviews with experts
retained by and chosen by the U.S. Attorney (including Bureau of Prisons medical personnel).

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The U.S. Attorney reserves the right to oppose Defendant's argument(s) for a sentence
outside the USSG under the factors set forth in 18 U.S.C. § 3553(a).

Based on Defendant’s prompt acceptance of personal responsibility for the offense of
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attorney
agrees to recommend that the Court reduce by three levels Defendant’s adjusted offense level
under USSG § 3E1.1.

The U.S. Attorney reserves the right not to recommend a reduction under USSG § 3E1.1
if, at any time between Defendant’s execution of this Plea Agreement and sentencing, Defendant:

(a) Fails to admit a complete factual basis for the plea;
(b) Fails to truthfully admit Defendant’s conduct in the offense of conviction;

(c) Falsely denies, or frivolously contests, relevant conduct for which
Defendant is accountable under USSG § 1B1.3;

(d) Fails to provide truthful information about Defendant's financial status;

(e) Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which
Defendant is accountable under USSG § 1B1.3;

(f) Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3C1.1;

(g) Intentionally fails to appear in Court or violates any condition of release;
(h) Commits a crime;

(i) Transfers any asset protected under any provision of this Plea Agreement;
or

(j) Attempts to withdraw Defendant's guilty plea.

Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG §3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.
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Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4, Sentence Recommendation

The U.S. Attorney agrees to recommend the following sentence before the Court:

(a)

(b)
(c)

incarceration at the low end of the Guidelines sentencing range as calculated
by the Court at sentencing, excluding departures, concurrent with the state
sentence Defendant is currently serving;

36 months of supervised release; and
a mandatory special assessment of $100, which Defendant must pay to the

Clerk of the Court on or before the date of sentencing (unless Defendant
establishes to the Court’s satisfaction that Defendant is unable to do so):

Defendant agrees to provide the U.S. Attorney expert reports on which Defendant intends
to rely at sentencing not later than 21 days before sentencing. Defendant also agrees to provide
the U.S. Attorney, motions, memoranda of law and other documentation of any kind on which
Defendant intends to rely at sentencing not later than five days before sentencing. Any basis for
sentencing as to which Defendant has not provided the U.S. Attorney such materials in accordance
the above deadlines shall be deemed waived.

5. Waiver of Rights to Appeal and to Bring Future Challenge

(a)

(b)

(c)

Defendant has conferred with his attorney and understands that he has the
right to challenge both his conviction and his sentence (including any orders
relating to supervised release, fines, forfeiture, and restitution) on direct
appeal. Defendant also understands that, in some circumstances, Defendant
may be able to argue in a future proceeding (collateral or otherwise), such
as pursuant to a motion under 28 U.S.C. § 2255, 28 U.S.C. § 2241, or 18
U.S.C. §3582(c), that Defendant’s conviction should be set aside or
Defendant’s sentence (including any orders relating to supervised release,
fines, forfeiture, and restitution) set aside or reduced.

Defendant waives any right to challenge Defendant’s conviction on direct
appeal or in a future proceeding (collateral or otherwise).

Defendant agrees not to file a direct appeal or challenge in a future
proceeding (collateral or otherwise) any sentence of imprisonment of 37
months or less, or any orders relating to fines or the term of supervised
release, or any mandatory or standard condition of supervised release. This
provision is binding even if the Court’s Guidelines analysis is different from
that set forth in this Plea Agreement.

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(d)

(e)

The U.S. Attorney likewise agrees that, regardless of the analysis employed
by the Court, the U.S. Attorney will not appeal any imprisonment sentence
of 57 months or more, or any orders relating to fines or the term of
supervised release, or any mandatory or standard condition of supervised
release. This Plea Agreement does not affect the rights of the United States
as set forth in 18 U.S.C. §3742(b). Defendant understands and
acknowledges that the U.S. Attorney has retained all appeal rights.

Regardless of the previous sub-paragraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
under Strickland v. Washington; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence.

Other Post-Sentence Events

(a)

(b)

(c)

If, despite the waiver provision of sub-paragraph 5(c), Defendant appeals or
challenges in a future proceeding (collateral or otherwise) Defendant’s
sentence, the U.S. Attorney reserves the right to argue the correctness of the
sentence imposed by the Court (in addition to arguing that any appeal or
future challenge (collateral or otherwise) is waived as a result of the waiver
in sub-paragraph 5(c)).

If, despite the waiver provision of sub-paragraph 5(c), Defendant seeks re-
sentencing, Defendant agrees not to seek to be re-sentenced with the benefit
of any change to the Criminal History Category that the Court calculated at
the time of Defendant’s original sentencing, except to the extent that
Defendant has been found actually factually innocent of a prior crime.

In the event of a re-sentencing following an appeal from or future challenge
(collateral or otherwise) to Defendant’s sentence, the U.S. Attorney reserves
the right to seek a departure from and a sentence outside the USSG if, and
to the extent, necessary to reinstate the sentence the U.S. Attorney
advocated at Defendant’s initial sentencing pursuant to this Plea
Agreement.

Court Not Bound by Plea Agreement

The parties’ sentencing recommendations and their respective calculations under the USSG

are not binding upon the U.S. Probation Office or the Court. Within the maximum sentence
Defendant faces under the applicable law, the sentence to be imposed is within the sole discretion
of the Court. Defendant’s plea will be tendered pursuant to Fed. R. Crim. P. 11(c)(1)(B).
Defendant may not withdraw his plea of guilty regardless of what sentence is imposed, or because

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the U.S. Probation Office or the Court declines to follow the parties’ USSG calculations or
recommendations. Should the Court decline to follow the U.S. Attorney’s USSG calculations or
recommendations, the U.S. Attorney reserves the right to defend the Court’s calculations and
sentence in any direct appeal or future challenge (collateral or otherwise).

8. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph | of this
Plea Agreement.

9. Rejection of Plea by Court

Should Defendant’s guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant’s motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

10. Breach of Plea Agreement

If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant’s pretrial release, or has committed
any crime following Defendant’s execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Defendant recognizes that his breach of any obligation
under this Plea Agreement shall not give rise to grounds for withdrawal of Defendant’s guilty plea,
but will give the U.S. Attorney the right to use against Defendant before any grand jury, at any
trial or hearing, or for sentencing purposes, any statements made by Defendant and any
information, materials, documents or objects provided by Defendant to the government, without
any limitation, regardless of any prior agreements or understandings, written or oral, to the
contrary. In this regard, Defendant hereby waives any defense to any charges that Defendant might
otherwise have, based upon any statute of limitations, the constitutional protection against pre-
indictment delay, or the Speedy Trial Act.

11. Who Is Bound By Plea Agreement

 

This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.
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12, Complete Plea Agreement

 

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Jordi de Llano.

Very truly yours,

WILLIAM D. WEINREB

ec United States Attorney
By:

Lori JHolik

Chief, Major Crimes Unit

Robert E. Richardson

Deputy Chief, Major Crimes Unit

 

 

 

Assistant U.S. Attorney
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ACKNOWLEDGMENT OF PLEA AGREEMENT

| have had this letter read to me in my native language in its entirety and discussed it with
my attorney. I hereby acknowledge that (a) it accurately sets forth my plea agreement with the
United States Attorney’s Office for the District of Massachusetts; (b) there are no unwritten
agreements between me and the United States Attorney’s Office; and (c) no official of the United
States has made any unwritten promises or representations to me, in connection with my change
of plea. In addition, I have received no prior offers to resolve this case. I understand the crime to
which I have agreed to plead guilty, the maximum penalties for that offense and the Sentencing
Guideline penalties potentially applicable to it. I am satisfied with the legal representation
provided to me by my attorney. We have had sufficient time to meet and discuss my case. We
have discussed the charge against me, possible defenses | might have, the terms of this Plea
Agreement and whether I should go to trial. I am entering into this Plea Agreement freely,
voluntarily, and knowingly because | am guilty of the offense to which I am pleading guilty, and
I believe this Plea Agreement is in my best interest.

 
    

Alex Hernahdez
Defendant

Date: S /? {7

I certify that Alex Hernandez has had this Plea Agreement read to him in his native
language and that we have discussed its meaning. I believe he understands the Plea Agreement
and is entering into the Plea Agreement freely, voluntarily, and knowingly. I also certify that the
U.S. Attorney has not extended any other offers regarding a change of plea in this case.

Miriam Conrad, Esq.
Scott Lauer, Esq.

Attorneys for Defendant

Date: sft2f12_
